                                        DOCUMENT 3
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        Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 1 5/1/2017
                                                                   of 15 11:18 AM                  FILED
                                                                                         2017 May-31 PM 02:32
                                                                             64-CV-2017-900167.00
                                                                                         U.S. DISTRICT
                                                                             CIRCUIT COURT     OF      COURT
                                                                                             N.D. OF ALABAMA
                                                                          WALKER COUNTY, ALABAMA
                                                                            SUSAN ODOM, CLERK
           IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

KEVIN GARNER                               )
an individual;                             )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )       Civil Action No.:
                                           )
STATE FARM MUTUAL                          )
AUTOMOBILE INSURANCE                       )
COMPANY, a corporation;                    )
and THOSE OTHER PERSONS,                   )
CORPORATIONS, AND OTHER                    )
LEGAL ENTITIES DESIGNATED                  )
HEREIN AS FICTITIOUS PARTIES               )
                                           )
       Defendants.                         )

                                        SUMMONS

        This service by certified mail of this summons is initiated upon the written request of
plaintiff's attorney pursuant to the Alabama Rules of Civil Procedure.


                    NOTICE TO: State Farm Mutual Automobile Insurance Company
                               1 State Farm Plaza
                               Bloomington, IL 61701


       The Complaint which is attached to this summons is important and you must take
immediate action to protect your rights. You are required to mail or hand deliver a copy of a
written answer, either admitting or denying each allegation in the Complaint to DRAKE LAW
FIRM, attorney for plaintiff, Two Perimeter Park South, Suite 510 East, Birmingham, AL 35243.
THIS ANSWER MUST BE MAILED OR DELIVERED WITHIN THIRTY (30) DAYS FROM
THE DATE OF THE DELIVERY OF THIS SUMMONS AND COMPLAINT OR A
JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR
OTHER THINGS DEMANDED IN THE COMPLAINT. You must also file the original of your
Answer with the Clerk of this Court within a reasonable time afterward.


                                                   _____________________________
                                                   CLERK OF COURT

                                                   DATED:


                                                                                  EXHIBIT A
                                           DOCUMENT 2
                                                                                  ELECTRONICALLY FILED
        Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 24/18/2017
                                                                  of 15 10:39 AM
                                                                                   01-CV-2017-901572.00
                                                                                   CIRCUIT COURT OF
                                                                              JEFFERSON COUNTY, ALABAMA
                                                                               ANNE-MARIE ADAMS, CLERK

           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                           BIRMINGHAM DIVISION

DANA LEIGH BAILEY, as Personal                   )
Representative of the Estate of                  )
ALYSSA VICTORIA CARROLL,                         )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )              Case No.: CV-2017-________
                                                 )
STATE FARM MUTUAL                                )
AUTOMOBILE INSURANCE                             )
COMPANY, a foreign corporation and No.1, whether singular or plural, the driver of the motor
vehicle whose negligence caused the Plaintiff's death on the occasion forming the basis of this civil
action; No.2, whether singular or plural, the operator of the motor vehicle on the occasion forming
the basis of this civil action; No.3, whether singular or plural, that entity or those entities who or
which afforded any insurance coverage to either the driver or the owner of the motor vehicle
involved in the occurrence forming the basis of this civil action; No.4, whether singular or plural,
that entity or those entities who or which provided maintenance and upkeep on the motor vehicle
involved in the occurrence forming the basis of this civil action; No.5, whether singular or plural,
that entity or those entities who or which did any repair work on the motor vehicle involved in the
occurrence forming the basis of this civil action; No.6, whether singular or plural, that entity or
those entities who or which manufactured and/or distributed the motor vehicle involved in the
occurrence forming the basis of this civil action, or any of the component parts thereof; No.7,
whether singular or plural, that entity or those entities who or which were the master or principal
of the driver of the motor vehicle involved in the occurrence forming the basis of this civil action;
No.8, whether singular or plural, that entity or those entities for whom the driver of the motor
vehicle operated at the time of the occurrence forming the basis of this civil action was performing
some type of service or employment duty; No.9, whether singular or plural, that entity or those
entities who or which negligently entrusted the motor vehicle involved in the occurrence forming
the basis of this civil action to the driver or drivers thereof at the time of said occurrence; No.10,
whether singular or plural, that entity or those entities on whose behalf the vehicle or vehicles
involved in the collision forming the basis of this civil action was being operated at the time of
said occurrence; No.11, whether singular or plural, that entity or those entities who or which was
responsible for the condition or state of repair of the vehicle involved in the occurrence forming
the basis of this civil action; No.12, whether singular or plural, that entity or those entities, that
individual or those individuals who or which repaired, altered or maintained the vehicle involved
in the occurrence forming the basis of this civil action; No.13, whether singular or plural, that
entity or those entities who or which issued, or had a duty to issue, warnings or instructions
regarding the use or operation of any of the vehicles involved in the occurrence forming the basis
of this civil action, any component part thereof, or any attendant equipment used or available for
use therewith; No.14, whether singular or plural, that entity or those entities who or which tested,
inspected, approved or issued any approval of any of the vehicles involved in the occurrence
                                              DOCUMENT 2
         Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 3 of 15




forming the basis of this lawsuit, any component part thereof, or any attendant equipment used or
available for use therewith; No.15, whether singular or plural, that entity or those entities who or
which had supervisory authority relating to the maintenance or operation, or to the selection,
training and hiring of drivers of any of the vehicles involved in the occurrence forming the basis
of this civil action; No.16, whether singular or plural, that entity or those entities who or which
issued any policy of insurance that provided coverage for the Plaintiffs, including, but not limited
to, general liability insurance or uninsured/underinsured motorist coverage; No.17, whether
singular or plural, that entity or those entities who or which provided any insurance coverage for
any of the motor vehicles involved in the occurrence forming the basis of this civil action, for the
driver of each respective motor vehicle or for any of the named fictitious parties defendant listed
or described herein; No.18, whether singular or plural, that entity or those entities other than those
entities described above whose breach of contract or warranty contributed to cause the occurrence
forming the basis of this civil action; No.19, whether singular or plural, that entity or those entities
other than those entities described above, which is the successor-in-interest of any of those named
and/or fictitious parties defendant described herein; and No.20, whether singular or plural, that
entity or those entities other than those entities described above, which was the predecessor
corporation and/or entity of any of the entities described herein. The Plaintiff avers that the
identities of the above-described fictitious parties defendant is otherwise unknown to the Plaintiff
at this time, or if their names are known to the Plaintiff at this time, their identities as proper parties
defendant is not known to the Plaintiff at this time, but their true names will be substituted by
amendment when ascertained,                      )
                                                 )
         Defendants.                             )

                                            COMPLAINT

        COMES NOW the Plaintiff, DANA LEIGH BAILEY, as Personal Representative of the

Estate of ALYSSA VICTORIA CARROLL, and for the relief hereinafter requested, respectfully

shows unto the Court as follows:

                                    STATEMENT OF PARTIES

        1.      Plaintiff DANA LEIGH BAILEY is an individual over the age of nineteen (19)

years, who is an adult resident citizen of Jefferson County, Alabama and is the duly appointed

Administrator of the Estate of ALYSSA VICTORIA CARROLL, deceased. The Estate of

ALYSSA VICTORIA CARROLL is a Jefferson County, Alabama estate.
                                                DOCUMENT 2
         Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 4 of 15




       2.         Defendant STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

is a foreign corporation which, during all material times relevant to the present action was doing

business by agent in Jefferson County, Alabama and which, at all times pertinent to the present

civil action, held a contract for a policy or policies of automobile insurance providing uninsured

and underinsured motorist coverage for the benefit of Plaintiff DANA LEIGH BAILEY, as

Personal Representative of the Estate of ALYSSA VICTORIA CARROLL.

       3.         Fictitious parties defendant Nos. 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17,

18, 19 and 20, whose more correct names and identities are unknown to the Plaintiff at this time, will

be substituted by amendment when their true names and identities are ascertained.

                                          COUNT ONE
                             (Uninsured/Underinsured Motorist Benefits)

       4.         The Plaintiff adopts and incorporates paragraphs one (1) through three (3) as if fully

set out herein.

       5.         On or about the 14th day of January, 2017, upon a public roadway, to wit: Skyline

Drive, in Blount County, Alabama, Donald Lee Turner and or more of the fictitious parties

defendant listed and described herein and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15,

16, 17, 18, 19 and 20, caused the motor vehicle he was operating to leave the roadway and crash

catastrophically, and Donald Lee Turner’s and one or more of the fictitious parties defendant listed

and described herein and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19

and 20’s conduct was a proximate cause of ALYSSA VICTORIA CARROLL’S wrongful death.

       6.         As a proximate result of the conduct of Donald Lee Turner and one or more of the

fictitious parties defendant listed and described herein and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,

11, 12, 13, 14, 15, 16, 17, 18, 19 and 20, combined and concurred, ALYSSA VICTORIA
                                            DOCUMENT 2
         Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 5 of 15




CARROLL was caused to be killed. This lawsuit is, therefore, filed pursuant to the authority of Ala.

Code § 6-5-410.

        7.      On January 14, 2017, and for sometime prior thereto, Plaintiff DANA LEIGH

BAILEY had in full force and effect a policy or policies of automobile insurance with Defendant

STATE FARM MUTUAL AUTOBILE INSURANCE COMPANY and/or one or more of the

fictitious parties defendant listed and described above and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,

12, 13, 14, 15, 16, 17, 18, 19 and 20.

        8.      Specifically, the Plaintiff’s policy or policies of automobile insurance included, and

premiums were paid by Plaintiff, for coverage due to losses caused by uninsured or underinsured

motorists.

        9.      Subsequent to the collision forming the basis of the present civil action, Plaintiff

DANA LEIGH BAILEY provided Defendant STATE FARM MUTUAL AUTOMOBILE

INSURANCE COMPANY and/or one or more of the fictitious parties defendant listed and

described above and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19 and 20

with timely notice of a claim for underinsured motorist benefits pursuant to the policy or policies

of automobile insurance described herein.

        10.     Plaintiff DANA LEIGH BAILEY alleges that Donald Lee Turner was an

underinsured motorist at the time of the collision forming the basis of this civil action.

        11.     A controversy has arisen between Plaintiff DANA LEIGH BAILEY, Defendant

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY and/or one or more of the

fictitious parties defendant listed and described above and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,

12, 13, 14, 15, 16, 17, 18, 19 and 20 as to the amount or extent of underinsured motorist benefits to
                                             DOCUMENT 2
         Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 6 of 15




be provided to Plaintiff DANA LEIGH BAILEY under her policy or policies of insurance with

Defendant STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY and/or one or

more of the fictitious parties defendant listed and described above and numbered 1, 2, 3, 4, 5, 6, 7, 8,

9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19 and 20 for the injuries and damages sustained and described

above.

         WHEREFORE, Plaintiff DANA LEIGH BAILEY, as Personal Representative of the Estate

of ALYSSA VICTORIA CARROLL, demands judgment against each of the Defendants STATE

FARM MUTUAL AUTOMOBILE INSURANCE COMPANY and one or more of the fictitious

parties defendant listed and described herein and numbered 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14,

15, 16, 17, 18, 19 and 20 and requests that punitive damages be awarded to the Plaintiff in an amount

that will adequately reflect the enormity of the defendants' wrongful acts and that will effectively

prevent other similar wrongful acts.

         DATED: This the 18th day of April, 2017.

                                                                /s/ Andrew J. Moak
                                                                Andrew J. Moak (MOA001)
                                                                Attorney for the Plaintiff

OF COUNSEL:
SHUNNARAH INJURY LAWYERS, PC
3626 Clairmont Avenue South
Birmingham, Alabama 35222-3508
P (205) 323-1000
F (205) 323-1877
                               JURY DEMAND

PLEASE TAKE NOTICE THAT THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL
                         ISSUES IN THIS CASE.


                                                                s/ Andrew Moak
                                                                Andrew J. Moak (MOA001)
                                           DOCUMENT 2
        Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 7 of 15




             REQUEST FOR SERVICE VIA CERTIFIED MAIL BY CLERK

      The attorney for the Plaintiff hereby respectfully requests that the Clerk serve the following
Defendants by certified mail, return receipt requested:

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
c/o CSC Lawyers Incorporating Service, Inc.
150 South Perry Street
Montgomery, Alabama 36104


                                                             s/ Andrew Moak
                                                             OF COUNSEL
                                           DOCUMENT 3
                                                                                ELECTRONICALLY FILED
         Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 84/18/2017
                                                                   of 15 10:39 AM
                                                                                  01-CV-2017-901572.00
                                                                                  CIRCUIT COURT OF
                                                                             JEFFERSON COUNTY, ALABAMA
                                                                              ANNE-MARIE ADAMS, CLERK
            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                            BIRMINGHAM DIVISION

DANA LEIGH BAILEY, as Personal                )
Representative of the Estate of               )
ALYSSA VICTORIA CARROLL,                      )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )              Case No.: CV-2017-________
                                              )
STATE FARM MUTUAL                             )
AUTOMOBILE INSURANCE                          )
COMPANY, et al.,                              )
                                              )
        Defendants.                           )

      PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO
     DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

        COMES NOW Plaintiff DANA LEIGH BAILEY, as Personal Representative of the

Estate of ALYSSA VICTORIA CARROLL, and hereby requests that the Defendant, STATE

FARM MUTUAL AUTOMOBILE INSURANCE COMPANY answer the following Requests

for Production of Documents, and thereafter supplement each such response as required by Rule

26(e) of said rules; to wit:

       NOTE A:         These Interrogatories and Requests for Production shall be deemed
continuing in nature so as to require supplemental answers upon receipt of additional information
received by this Defendant or this Defendant’s attorney, subsequent to the original response. Any
such supplemental answers are to be filed and served upon counsel for the Plaintiffs within thirty
(30) days from receipt of such additional information, but not later than the trial of this action.

       NOTE B:        If you contend that any document or file requested is irrelevant or privileged
in any way, provide a list or index identifying all such documents (or each such documents
compromising said file) by title, along with a short description of its subject matter.

        NOTE C:        The terms “this defendant,” “defendant, “you” or “your” refers to the
Defendant to whom these requests are made, including any officer, agent, employee, subsidiary or
parent company of such Defendant, or any other person or entity over whom the Defendant may
exert control, or by whom the Defendant is controlled.
                                             DOCUMENT 3
         Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 9 of 15



     NOTE D:    The terms “Plaintiff,” “Plaintiffs,” “Plaintiff’s” or “Plaintiffs’” refer to
DANA LEIGH BAILEY, on or about the date forming the basis of this civil action.

                                REQUESTS FOR PRODUCTION

        1.      Produce a complete copy of all policies of insurance issued by STATE FARM

MUTUAL AUTOMOBILE INSURANCE COMPANY to the Plaintiff that were in effect at the

time of the incident forming the basis of this lawsuit, including all declarations, endorsements,

riders and amendments.

        2.      Produce a transcribed copy of any and all recorded interviews or statements

conducted by STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY of any of

the parties to this lawsuit, including, but not limited to, the Plaintiff.


        DATED: This 18th day of April, 2017.




                                                                 /s/ Andrew J. Moak
                                                                 Andrew J. Moak (MOA001)
                                                                 Attorney for the Plaintiff


OF COUNSEL:
SHUNNARAH INJURY LAWYERS, PC
3626 Clairmont Avenue South
Birmingham, Alabama 35222-3508
P (205) 323-1000
F (205) 323-1877
amoak@asilpc.com
                                         DOCUMENT 3
       Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 10 of 15



                               CERTIFICATE OF SERVICE

       I hereby certify that I have caused a copy of the foregoing to be attached to and served
with the original Summons and Complaint in this action.



                                                          /s/ Andrew J. Moak
                                                          OF COUNSEL
                                           DOCUMENT 6
                                                                                 ELECTRONICALLY FILED
        Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 114/24/2017
                                                                   of 15 9:14 AM
                                                                                   01-CV-2017-901572.00
                                                                                   CIRCUIT COURT OF
                                                                              JEFFERSON COUNTY, ALABAMA
                                                                               ANNE-MARIE ADAMS, CLERK

           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                           BIRMINGHAM DIVISION

DANA LEIGH BAILEY, as Personal                 )
Representative of the Estate of                )
ALYSSA VICTORIA CARROLL,                       )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )      Case No.: CV-2017-________
                                               )
STATE FARM MUTUAL                              )
AUTOMOBILE INSURANCE                           )
COMPANY, et al.,                               )
                                               )
       Defendants.                             )

                                  NOTICE OF APPEARANCE

       COMES NOW the undersigned, C. Todd Buchanan of Alexander Shunnarah Injury Lawyers,

P.C., and provides this Honorable Court, as well as all Parties, with formal notice of his appearance

as additional counsel of record for Plaintiff, Dana Leigh Bailey as Personal Representative of the

Estate of Alyssa Victoria Carroll.

                                              Respectfully Submitted,


                                              ___________________________________
                                              C. Todd Buchanan (BUC034)
                                              Attorney for Plaintiff

OF COUNSEL:

SHUNNARAH INJURY LAWYERS, P.C.
2900 1st Avenue South
Birmingham, Alabama 35233
Phone:        (205) 983-8166
Paralegal:    (205) 983-8266
Facsimile:    (205) 983-8466
Email:        tbuchanan@asilpc.com
                                           DOCUMENT 6
        Case 2:17-cv-00888-KOB Document 1-1 Filed 05/31/17 Page 12 of 15



                                 CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the above and foregoing electronically via
Alafile on this, the 24th day of April, 2017.

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
c/o CSC Lawyers Incorporating Service, Inc.
150 South Perry Street
Montgomery, Alabama 36104




                                              ____________________________________
                                              OF COUNSEL
                          DOCUMENT 8
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                          DOCUMENT 8
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                          DOCUMENT 11
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